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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

      Plaintiff,

                   v.                           Criminal No. 19-710 (FAB)

CLARIBEL RODRÍGUEZ-CANCHANI
[3], et al.,

      Defendants.



                               OPINION AND ORDER
BESOSA, District Judge.

      Defendant Claribel Rodríguez-Canchani (“Rodríguez) moves for

severance.     (Docket No. 164.)               Defendant Ramón Martes-Negrón

(“Martes”) and Rodríguez also move to compel the disclosure of

statements by indicted and unindicted coconspirators.                         (Docket

Nos. 168 & 184.)        For the reasons set forth below, the motions are

DENIED.

I.    Background

      Defendant    Abel      Nazario-Quiñones        is    the   former,     four-term

mayor of Yauco, Puerto Rico.            (Docket No. 3 at p. 1.)               He held

this position from 2000 to 2016.           Id.       During his administration,

Rodríguez    served     as   the    Director    of    Human      Resources    for   the

Municipality of Yauco.             Id. at p. 2.           Defendant Edwin Torres-

Guitérrez (“Torres”) is the former Special Assistant to the Mayor.

Id.   Nazario won a seat in the Puerto Rico Legislative Assembly as
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a Senator at Large in 2016.            Id. at p. 1; see P.R. Const. Art. III

§ 3.

       Nazario, Torres, and Rodríguez purportedly misappropriated

government     funds    to     pay    “irregular      employees”        for       “work   on

[Nazario’s]     senatorial       campaign,”         and     for    assisting        “party

politicians     whose    support      [he    needed]       to   win    the       senatorial

election.”      Id. at p. 3.               These “ghost” employees allegedly

received compensation “based on false or no documentation to

support the payment of wages [e.g. fabricated attendance sheets].”

Id. at p. 5.        The ghost employees include defendants Martes,

Humberto Pagán-Sánchez (“Pagán”), Kelvin Ortiz-Vegarra (“Ortiz”),

Juan    Rosario-Núñez         (“Rosario”),          and     Eric      Rondón-Rodríguez

(“Rondón”).     Id. 1

       On   November    1,    2019,    a    grand    jury    returned        a   one-count

indictment charging Nazario, Torres, Rodríguez, and the ghost

employees with theft of federal funds in violation of 18 U.S.C.

section 666(a)(1)(A).            (Docket      No.    3.)          Rodríguez        requests

severance “from Mr. Nazario’s trial in the instant case.”                          (Docket

No. 164 at p. 9.)            She also moves “for an order compelling the

government to disclose any and all statements made by any alleged

unindicted or indicted co-conspirator.”                   (Docket No. 168.)          Martes

joined the motion.       (Docket No. 184.)



1 Rondón pled guilty on April 23, 2021.   (Docket No. 127.)               His sentencing
hearing is set for October 22, 2021. (Docket No. 191.)
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II.   The Motion for Severance

      The motion for severance sets forth two arguments, both

grounded on the threat of evidentiary “spillover.”                (Docket No.

164.)      First, Rodríguez contends that severance is required to

mitigate     the   disproportional    allegations     between    Nazario    and

Rodríguez. Id. Second, she argues that the admission of Nazario’s

prior bad acts will confuse the jury.           Id.

   A. Federal Rule of Criminal Procedure 14

      “As a rule, persons who are indicted together should be tried

together.”     United States v. O’Bryant, 998 F.2d 21, 25 (1st Cir.

1993). 2    Joint trials prevent inconsistent verdicts and conserve

judicial resources.       Id.; Zafiro v. United States, 506 U.S. 534,

537 (1993) (noting that joint trials “promote efficiency and serve

the interest of justice by avoiding the scandal and inequality of

inconsistent verdicts.”).        This preference “is especially strong

for coconspirators who are indicted together.”              United States v.

Jett, 908 F.3d 252, 276 (7th Cir. 2018); see United States v.

Colón-Miranda, 985 F. Supp. 36, 39 (D.P.R. 1997) (Fusté, J.).

      The Court may, however, sever the trial of a defendant if

“joinder [. . .] appears to prejudice” the United States or the



2 Rule 8(b) of the Federal Rules of Criminal Procedure provides: “The indictment

or information may charge 2 or more defendants if they are alleged to have
participated in the same act or transaction, or in the same series of acts or
transactions, constituting an offense or offenses.       The defendants may be
charged in one or more counts together or separately. All defendants need not
be charged in each count.” Fed. R. Crim. P. 8(b).
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defendant.    Fed. R. Crim. P. 14(a).            Severance is a preemptive

measure, intended to reduce the “serious risk that a joint trial

[will] compromise a specific trial right of one of the defendants,

or prevent the jury from making a reliable judgment about guilt or

innocence.”    Zafiro, 506 U.S. at 638.

      To prevail, Rodríguez “must prove prejudice so pervasive that

a miscarriage of justice looms.”              Id. (quoting United States v.

Pierro, 32 F.3d 661, 615 (1st Cir. 1994)); United States v. Tejada,

481 F.3d 44, 55 (1st Cir. 2007) (“Prejudice means more than just

a better chance of acquittal at a separate trial.”) (quotation

omitted).     The    Rule    14    standard   places   a    “heavy   burden”   on

Rodríguez.    United States v. Maravilla, 907 F.2d 216, 228 (1st

Cir. 1990); United States v. Guitiérrez-Rodríguez, 480 F. Supp. 3d

380, 383 (D.P.R. 2020) (“A request for severance based on spillover

prejudice requires a defendant to overcome a high threshold.”)

(Besosa, J.).

      Courts possess “considerable latitude” regarding severance

motions, and “will be overturned only if that wide discretion is

plainly abused.”         United States v. O’Bryant, 998 F.2d 21, 25 (1st

Cir. 1993) (citation omitted).           “[L]ess drastic measures, such as

limiting instructions, often will suffice to cure any risk of

prejudice.”   Zafiro, 506 U.S. at 539; see United States v. Baltas,

236   F.3d   27,    34    (1st    Cir.   2001)   (holding    that    a   limiting
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instruction         provides      adequate         safeguard       against   evidentiary

spillover prejudice).

              1. Spillover Evidence

                    In joint trials, the risk of “‘spillover’ may arise

where evidence that is not admissible or should not be considered

against one defendant on his or her own is admitted against a co-

defendant.”          United States v. Cancel-Lorenzana, 28 F. Supp. 3d

138, 140 (D.P.R. 2014) (Besosa, J.); United States v. Gilbert, 92

F. Supp. 2d 1, 10 (D. Mass. 2000) (“Severance is appropriate when

the    evidence       that     would   be    presented      at     one   trial    would   be

inadmissible at a second trial.”) (citing United States v. Diallo,

29    F.3d    23,    28    (1st   Cir.      1994)).        Prejudice     resulting     from

spillover evidence is a possible basis for severance pursuant to

Federal Rule of Criminal Procedure 14(a) (“Rule 15”).                            See, e.g.,

United       States       v.   Mardian,      546    F.2d     973    (D.C.    Cir.     1976)

(overturning the conviction of a defendant who had been tried

jointly with three principal members of the Watergate conspiracy,

all of whom played much more substantial roles in the crime over

longer periods of time); United States v. Kelly, 349 F.2d 720, 759

(2nd Cir. 1965) (holding that the district court erred in failing

to sever the trial of three co-defendants, only two of whom “must

have stamped in the eyes of the jurors as unscrupulous swindlers

of the first rank”).
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               Spillover evidence also refers to the “threat” that

defendants “charged with only a minor role” will be “assess[ed]”

according to the “extensive” evidence against other defendants.

United States v. De La Paz-Rentas, 613 F.3d 18, 23 (1st Cir. 2010).

“Because of the natural tendency to infer guilt by association, a

defendant may suffer by being joined with another allegedly ‘bad

man.’”    King v. United States, 355 F.2d 700, 704 (1st Cir. 1966).

Severance need not occur, however, “[e]ven where large amounts of

testimony are irrelevant to one defendant, or where one defendant’s

involvement    in    an   overall    agreement      is    far   less    than   the

involvement of others.”        United States v. Boylan, 898 F.2d 230,

246 (1st Cir. 1990).       A codefendant who is “unattractive to the

jury” is generally not sufficient to warrant severance. 1A Charles

Alan Wright et al., Fed. Prac. & Proc. Crim. § 225 (5th ed. 2020);

United States v. DeCologero, 530 F.3d 36, 53 (1st Cir. 2008)

(holding that the “unsavoriness of one’s codefendant (including

past   criminal     conduct)   is   not   enough,    by   itself,      to   mandate

severance”).

  B. The Motion for Severance is Premature

       According to the motion for severance, the “scant allegation

and evidence as to Mrs. Rodríguez-Canchani is overshadowed by the

evidence for Mr. Nazario.” (Docket No. 164 at p. 5.) This argument

is unavailing.       The number of allegations in an indictment is

irrelevant to the Rule 14 analysis.              Indeed, the United States
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“need not recite all of its evidence in the indictment.”            United

States v. Keleher, 505 F. Supp. 3d 41, 46 (D.P.R. 2020) (quoting

United States v. Stephanets, 879 F.3d 367, 372 (1st Cir 2018))

(Besosa, J.).

      Severance is appropriate when there is a stark disparity

between the charges, quantity, and strength of the evidence among

the defendants.    See United States v. Sampol, 636 F.2d 621, 647

(1st Cir. 1980) (holding that district court erred in failing to

sever a three-defendant trial where two defendants, but not the

third, were charged with the bombing murder of two victims because

“[i]n cases when there is a gross disparity in the quantity and

venality of the testimony against the respective joint defendants

it is fair to inquire whether the jury can reasonably be expected

to   compartmentalize   the   evidence    as   it   relates   to   separate

defendants in the light of its volume and limited admissibility.”)

Only pervasive prejudice will sustain a motion for severance.

United States v. Pierro, 32 F.3d 611, 615 (1st Cir. 1994) (holding

that a co-defendant’s “unsavory” testimony did not “prejudice

appellant above and beyond the quantum of prejudice that typifies

virtually any multi-defendant trial – and that sort of prejudice

clearly does not justify a severance”); United States v. Sotomayor-

Vázquez, 249 F.3d 1, 12 (1st Cir. 2001) (holding that a defendant’s

fabrication and recantation was not so pervasively prejudicial

that limiting instructions could not “account for the unusual
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situation; instructions that we must presume were heeded by the

jury”).

      Nazario and Rodríguez are each charged with committing theft

of federal funds in violation of 18 U.S.C. section 666(a)(2) and

18 U.S.C. § 666(a)(1)(B).                (Docket No. 3.)         According to the

indictment, Rodríguez “ordered at least one employee of the Human

Resources Department to assist her in creating false time and

attendance records.”            Id. at p. 5.          She then “manipulated the

falsely created time and attendance sheets in such a way as to

make them appear old.”           Id.    The criminal acts allegedly committed

by Rodríguez are not innocuous, nor are they tangential to the

overall scheme.        There is no basis to conclude that a severance is

warranted to ensure that Rodríguez receives a fair trial.                    This is

particularly   so      because     any    risk   of    unfair    prejudice   may   be

attenuated   by    a    limiting       instruction.       See    United   States   v.

Richardson, 515 F.3d 74, 83 (1st Cir. 2088) (“[W]e note that the

district   judge       limited    any    prejudice     that     might   result   from

admission of other crime evidence by instructing the jury to

consider the evidence separately as to each count).

     Rodríguez also tethers the motion for severance to Nazario’s

criminal history, asserting that the jury will find her “guilt[y]

by association.”        (Docket No. 164 at p. 4.)             On February 1, 2019,

a grand jury returned a thirty-seven-count superseding indictment

charging   Nazario       with    using    a   false    writing    or    document   in
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violation of 18 U.S.C. section 1001(a)(3) (counts one through

thirty), and wire fraud in violation of 18 U.S.C. section 1343

(counts thirty-one through thirty-seven).          Case No. 18-574 (JNL),

Docket No. 58.      Essentially, Nazario required municipal employees

to “work two (2) voluntary hours per day.”           Id. at p. 2.    After a

twelve-day trial, the jury returned a mixed verdict.            (Docket No.

221.)    The Court imposed a concurrent sentence of eighteen months

imprisonment as to each count of conviction.            (Docket No. 290 at

p. 3.)     News outlets featured Nazario throughout the litigation.

(Docket No. 164 at p. 2.)

     According to Rodríguez, “Nazario’s prior conviction” will

“have a spillover effect in the instant case that may confuse the

jury.”    Case No. 19-710, Docket No. 164 at p. 2.          She anticipates

that the “government will attempt to strengthen its case in chief

by the use of prior bad act evidence as to [Nazario].”             Id. at p.

7.   Rodríguez’s argument is premature and based on speculation.

The United States has not moved to admit, and the Court has made

no ruling regarding the admissibility of, any evidence of Nazario’s

bad acts.

     The Court will not grant a severance based on the speculative

assertion that the United States will introduce evidence of prior
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bad acts, the admissibility of which is not a foregone conclusion. 3

Consequently,     the    motion    for    severance     is     DENIED   WITHOUT

PREJUDICE.    See United States v. Day, Case No. 15-143, 2016 U.S.

Dist. LEXIS 30252, at *6 (D. Me. Mar. 8, 2016) (denying motion for

severance in part because the “Government represent[ed] that it is

unaware of any Rule 404(b) evidence regarding other crimes that it

will seek to introduce as to defendants Stolkner or Green”); United

States v. Mullen, 243 F.R.D. 54, 75 (W.D.N.Y. 2006) (“The Court

will be in a better position to weigh the probative value [of

404(b)   evidence    .   .   .   [T]he   court   will   either    require   the

Government to forgo introduction of the evidence at the joint trial

or the court will permit its use in a severed trial as to Defendant

Adams.”).

III. The Motion to Compel Disclosure of Co-Conspirator Statements

      Rodríguez and Martes move the Court to compel the United

States   to   disclose   statements      by   any   indicted    or   unindicted

coconspirator, and “confessions by any of the named defendants in

this case.”    (Docket No. 168 at p. 2.) 4




3 The Court emphasizes that prejudice, in and of itself, is not a basis for
severance.   United States v. Rose, 914 F. Supp. 2d 15, 36 (D. Mass. 2012)
(‘“Garden-variety evidentiary spillover common to any joint trial’ is not a
basis to sever trials.”) A defendant seeking severance must make “a strong
showing of evident prejudice.” United States v. O’Bryant, 998 F.2d 21, 25 (1st
Cir. 1993).

4The Court granted Martes’ motion to join Rodríguez’s motion to compel. (Docket
No. 189.)
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      Federal Rule of Criminal Procedure 16 (“Rule 16”) governs

discovery in criminal actions.         Fed. R. Crim. P. 16; see James

Cissell, Federal Criminal Trials § 7-7 (2021 ed.) (“Rule 16 of the

Federal Rules of Criminal Procedure is the basic, and in most

cases, the exclusive discovery tool that can be utilized by a

defendant”).      “[T]here is no general constitutional right to

discovery in a criminal case.”         Weatherford v. Bursey, 429 U.S.

545, 559 (1977); see Kaley v. United States, 571 U.S. 320, 335

(2014).     Moreover, Rule 16 generally precludes “the discovery or

inspection of statements made by prospective government witnesses

except as provided in 18 U.S.C. § 3500 [the Jencks Act].”           Fed. R.

Crim. 16(a)(2).

      The Supreme Court has also held that due process of law

demands the disclosure of exculpatory and impeachment evidence.

See Brady v. Maryland, 373 U.S. 83, 87 (1963) (holding that the

United States must disclose exculpatory evidence that “is either

material to guilt or to punishment”); Giglio v. United States, 405

U.S. 150, 154 (1972) (holding that the United States must disclose

impeachment material when “the reliability of a given witness may

well be determinative of guilt or innocence.”)

      The    United   States     maintains     that   “all   preindictment

statements of [Rodríguez] and [the] codefendants, relative to this

case, have been provided to all defendants.”           (Docket No. 202 at

p.   2.)     Consequently,     her   request   concerning    disclosure   of
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incriminating statements is MOOT.        The request for statements by

indicted and unindicted conspirators is overly broad, falling

beyond the scope of the United States’ discovery obligations. See,

e.g., United States v. Place, No. 09-10152, 2010 U.S. Dist. LEXIS

145192, at *2 (D. Mass. May 24, 2010) (noting that Rule 16 “does

not encompass statements made by coconspirators (i.e., not by the

defendant) that, under Federal Rule of Evidence 801(d)(2)(E) are

not hearsay and thus admissible against the defendant”); United

States v. Panzardi-Álvarez, 646 F. Supp. 1158, 1161 (D.P.R. 1986)

(holding that “statements made by coconspirators [and] Government

witnesses” “exceed the scope of Rule 16”) (Fusté, J.).

        The Court is confident that the United Sates is aware of

its duty to disclose impeachment or exculpatory information in a

timely manner, and of the consequences of failing to do so.              Thus,

the   motion   for   all   statements    by   indicted    and   unindicted

coconspirators is DENIED.

IV.   Conclusion

      For the reasons set forth above, Rodríguez’s motion for

severance is DENIED WIHTOUT PREJUDICE.        (Docket No. 164.)      Martes

and Rodríguez’s motion to compel the disclosure of statements by

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indicted and unindicted coconspirators is also DENIED.            (Docket

No. 168.)

     IT IS SO ORDERED.

     San Juan, Puerto Rico, October 12, 2021.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
